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Case 2:14-cv-01526-APG-NJK Document 30

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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

 

LEE A. HAMPE, Individually and on Behalf | Case No. 2:14-cv-01526-APG-NJK

of All Others Similarly Situated,

Plaintiff(s), | CLASS ACTION

Vv.

PDL BIOPHARMA, INC., JOHN P.

STIPULATION OF DISMISSAL
WITHOUT PREJUDICE PURSUANT TO

MCLAUGHLIN, PETER 8S. GARCIA, and ~— | FED. R. CIV. P. 41(a)()(ADGD

DAVID MONTEZ,

Defendants.

 

 

 
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The parties hereby stipulate to the dismissal of this action without prejudice as to
Defendants PDL BioPharma, Inc., John P. McLaughlin, Peter S. Garcia, and David Montez
(collectively, “Defendants”) pursuant to Fed. R. Civ. P. 41(a)(1)(A)(Gi), and as grounds therefore
state as follows:

WHEREAS, Lee A. Hampe filed this putative class action complaint on September 18, 2014
[Docket No. 1];

WHEREAS, on December 11, 2014, the Court entered an Order Appointing Robert M.
McElroy As Lead Plaintiff And Approving Lead Plaintiff's Selection Of Lead Counsel [Docket No.
27);

WHEREAS, the March 5, 2015 deadline for Lead Plaintiff to file an Amended Complaint
has not yet been reached;

WHEREAS, this action has not been certified as a class action and, therefore, Fed. R. Civ.
P. 23(e) does not apply, and no prejudice to absent putative class members will result from
dismissal of the action;

WHEREAS, Lead Plaintiff and his counsel have now determined, after careful review and
deliberation, to voluntarily dismiss this action; and

WHEREAS, neither Lead Plaintiff nor his counsel has received or will receive any
consideration for dismissing this action from Defendants or otherwise;

NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by the undersigned
parties, as follows:

1. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(@), this action is hereby dismissed without
prejudice as to all Defendants, with each side to bear its own attorneys’ fees and costs incurred in
connection with this action;

2. The parties mutually agree not to seek or assert any claim against the other(s) or
their counsel for fees, expenses, costs, sanctions (including any claim under Fed. R. Civ. P. 11) in
connection with the filing, prosecution, defense or dismissal of this action and/or any other claim
that the above-captioned action was brought or defended in bad faith; and

3. This Stipulation shall not be construed against any party, but shall be construed as

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if the parties jointly prepared this Stipulation, and any uncertainty or ambiguity shall not on ground

of authorship or otherwise be interpreted against any one party.

Dated: February 2, 2015

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By: A .
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IT IS SO ORDERED.

Dated: February, 2015

PARSONS BEHLE & LATIMER

By: ( e (KK

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UNITED STATES DISTRICT JUDGE

 
